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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

THE ELITE RODEO ASSOCIATON d/b/a                §
ELITE RODEO ATHLETES, TREVOR                    §
BRAZILE, BOBBY MOTE, AND RYAN                   §
MOTES, individually and on behalf of a class    §
of similarly situated individuals,              §
                                                §
               Plaintiffs,                      §
                                                §
v.                                              § CASE NO. 3:15-cv-03609-M
                                                §
PROFESSIONAL RODEO COWBOYS                      §
ASSOCIATION, INC.                               §
                                                §
               Defendant.                       §

     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT TO
                           F.R.C.P. 41(a)(1)(A)(i)

        Plaintiffs The Elite Rodeo Association d/b/a Elite Rodeo Athletes, Trevor Brazile, Bobby

Mote, and Ryan Motes, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismiss the above captioned action against Defendant Professional Rodeo Cowboys

Association, Inc. without prejudice.

Date: February 23, 2016


                                                      s/ T. Ray Guy
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                                CERTIFICATE OF SERVICE

        On February 23, 2016, I electronically submitted the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all counsel and/or pro se parties of
record electronically or by another manner authorized by Federal Rule of Civil Procedure
5(b)(2).

                                              s/ T. Ray Guy
                                              T. Ray Guy




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT TO
F.R.C.P. 41(a)(1)(A)(i) – Page 2
